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                EXHIBIT B
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                        United States District Court
                     for the Northern District of Texas
                              Dallas Division
If you worked for Big Bird Tree Service, Inc. as an hourly-paid
landscape worker at any time since [DATE], you may be able to join
a collective action lawsuit seeking back overtime wages and other
damages.
         A federal court authorized this notice. This is not a solicitation from a lawyer.
Former landscape employees of Big Bird Tree Service, Inc. (“Big Bird”) allege that they were
not paid all overtime wages owed because Big Bird had a practice or policy of not paying
overtime premium compensation for any hours over 40 worked in a seven-day workweek.

The Court has allowed the lawsuit to be conditionally certified as a collective action, which is a
type of class action, on behalf of all current and former hourly-paid employees who worked for
Big Bird at any time from [DATE] to now.

1.     Why did I get this notice?
This Notice is to tell you about a collective action lawsuit against Big Bird that may affect your
potential rights to back overtime wages and other damages under federal law. The name of the
lawsuit is Emiliano Rodriguez-Rodriguez and Benito Hernandez Moreno, On Behalf of
Themselves and All Others Similarly Situated v. Big Bird Tree Service, Inc., Apollos Philip,
Manasseh A. Philip, and John Doe Defendants 3-10, Civil Action No. 3:15-cv-3815-N pending
in the United States District Court for the Northern District of Texas, Dallas Division.

You have legal rights and options that you may exercise. Therefore, the Court has ordered that
this notice be sent to you to explain what the lawsuit is about so that you can decide whether to
opt-in (join the lawsuit).

2.     What is the overtime wage lawsuit about?
Emiliano Rodriguez-Rodriguez and Benito Hernandez Moreno (the “Plaintiffs”) filed this
lawsuit against Big Bird on behalf of themselves and certain other past and current hourly-paid
employees who worked for Big Bird.

The Plaintiffs allege that they were not paid all overtime wages owed because Big Bird did not
pay overtime premium compensation at a rate of time and one-half their respective hourly rates
for all hours worked over 40 in a seven-day workweek. Rather, the Plaintiffs allege that Big Bird
at all times paid Plaintiffs at their hourly rate regardless of how many hours they worked, which
violates the FLSA.


      For more information, call toll-free 1 (866) 495-1255 or www.bigbirdovertime.com

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As a result, the Plaintiffs believe that Big Bird owes back overtime pay, liquidated damages
(equal to back overtime pay), and legal fees and costs for failing to pay all overtime pay owed.

Big Bird denies Plaintiffs’ allegations and contends that all overtime wages owed were properly
paid to its employees.

The Court has not decided who is right or wrong in this lawsuit.

3.      How do I join (opt-into) the overtime lawsuit?
If you fit the definition at the top of this notice, you may join this lawsuit as a class plaintiff and
be represented by the named lead Plaintiffs in this lawsuit. You can join by mailing, faxing, or
emailing the enclosed “Consent to Join” form to the Plaintiffs’ attorneys before the deadline.
Your form must be received (or, if mailed, postmarked) on or before [60 days after notice].
If you want to join, send in the form sooner rather than later because the maximum period you
may be able to seek overtime under the FLSA is three years before the date that form is filed and
forward. Filing the form earlier means that the time period covered for you in the case will start
earlier.

4.      What happens if I join the overtime lawsuit?
If you submit the “Consent to Join” form: It is entirely your decision whether to join this
lawsuit. If you choose to join, you will be represented by the Plaintiffs and their lawyers, who
will make decisions and agreements on your behalf concerning the lawsuit.

If you choose to join, while this lawsuit is pending, you may be asked to provide information,
appear for a deposition and/or testify in court in Dallas, Texas.

If you choose to join, you will be bound by the judgment whether it is favorable or unfavorable,
or any recovery, if the Plaintiffs recover money from the Defendant. And, if you join, you
cannot bring a separate lawsuit seeking overtime pay, even if the Plaintiffs do not recover
money.
The Plaintiffs’ attorneys will not charge you directly for their work. If the Plaintiffs recover
money, the Plaintiffs’ attorneys will be paid whatever fees the Court approves. Those fees may
be subtracted from the recovery, if any, obtained from Defendant, or they may be paid separately
by Defendant, or they may be a combination of the two. If the Plaintiffs recover no money or
relief from Defendant, their lawyers will not be paid for their work on this case.

5.      What happens if I do nothing?
If you do nothing (i.e., do not submit the “Consent to Join” form): You will not be a part of the
lawsuit. You will not be affected by any judgment in this lawsuit or be represented by the
Plaintiffs’ lawyers. If money is recovered, you will not receive a share.



       For more information, call toll-free 1 (866) 495-1255 or www.bigbirdovertime.com

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6.      What happens next?
You and the other Class Members have until [60 DAYS AFTER DATE OF MAILING] to opt
into the lawsuit. After that date, you will not be allowed to opt-into this lawsuit.

7.      Can Employers retaliate against me if I join this lawsuit?
No. Federal law prohibits employers, including future potential employers, from retaliating
against you in any way for participating in good faith in an overtime wage claim. For example,
they cannot make threats against you, fire you, give you an unfair review, cut your pay, fail to
promote you, or refuse to hire you for exercising your rights under the FLSA in good faith.

8.      Who will represent me if I join the lawsuit?
If you choose to join this suit, you will be represented by the Plaintiffs through their attorneys:
          Allen R. Vaught
          Baron & Budd, P.C.
          3102 Oak Lawn Avenue, Suite 1100
          Dallas, TX 75219
          Telephone: (866) 495-1255
          Fax: (214) 520-1181
          E-Mail: acorona@baronbudd.com


9.      How do I get more information?
If you have questions, feel free to contact the attorneys listed in Paragraph 8 above, visit
www.bigbirdovertime.com, or call 1 (866) 495-1255.




       For more information, call toll-free 1 (866) 495-1255 or www.bigbirdovertime.com

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       Tribunal Distrital de los Estados Unidos de América
                 para el Distrito Norte de Texas
                        División de Dallas
Si usted trabajó para Big Bird Tree Service, Inc. como empleado de
jardinería/paisajismo, pagado por hora, en algún momento
posterior a [FECHA], es posible que pueda participar en una
demanda de acción colectiva que busca recuperar remuneración
retroactiva por horas extraordinarias y otra compensación.
Este aviso cuenta con la aprobación de un tribunal federal. No es propaganda de un abogado.
Ex-empleados de jardinería de Big Bird Tree Service, Inc. (“Big Bird”) aducen que no se les
entregó toda la remuneración pagadera por horas extraordinarias, ya que Big Bird tenían la
práctica o política de no pagar compensación con recargo por horas extraordinarias trabajadas en
exceso de 40 horas en una misma semana laboral de siete días.

El Tribunal ha permitido certificar a la demanda condicionalmente como acción colectiva, que es
una clase de acción popular, a nombre de todos los empleados actuales y ex-empleados que han
trabajado para Big Bird en cualquier momento entre [FECHA] y la fecha de hoy.

10. ¿Por qué he recibido este aviso?
Este Aviso sirve para informarle sobre una demanda de acción colectiva entablada contra Big
Bird que podría afectar los derechos que usted podría tener a remuneración retroactiva por horas
extraordinarias y otra compensación permitida por ley federal. La demanda se titula Emiliano
Rodriguez-Rodriguez and Benito Hernandez Moreno, On Behalf of Themselves and All Others
Similarly Situated v. Big Bird Tree Service, Inc., Apollos Philip, Manasseh A. Philip, and John
Doe Defendants 3-10, Acción Civil No. 3:15-cv-3815-N ante el Tribunal Distrital de los Estados
Unidos para el Distrito Norte de Texas, División Dallas.

Usted tiene derechos y opciones legales que puede ejercer. Por lo tanto, el Tribunal ha ordenado
que se le envíe este aviso para explicarle de qué trata la demanda, para que usted pueda decidir si
desea unirse (participar en la demanda).
11. ¿De qué trata la demanda por remuneración por horas
    extraordinarias?
Emiliano Rodriguez-Rodriguez y Benito Hernandez Moreno (los “Demandantes”) entablaron
esta demanda contra Big Bird a su propio nombre y a nombre de ciertos otros empleados actuales
y ex-empleados que trabajaron para Big Bird.

Los Demandantes aducen que no se les pagó toda la remuneración por horas extraordinarias que
era debida, porque Big Bird no pagaba la compensación recargada de horas extraordinarias


     Para más información, llame gratis al 1 (866) 495-1255 or www.bigbirdovertime.com

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equivalente al sueldo regular multiplicado por 1.5, para todas las horas trabajadas en exceso de
40, en una misma semana laboral de siete días. Más bien, los Demandantes aducen que Big Bird
siempre pagaba a los Demandantes su sueldo regular por hora, sin importar el número de horas
trabajadas, lo cual es una infracción de la ley FLSA.

Como resultado, los Demandantes consideran que Big Bird adeuda paga retroactiva por horas
extraordinarias, daños y perjuicios convencionales (igual a la paga retroactiva por horas
extraordinarias), costos jurídicos y costos por no pagar toda la remuneración debida por horas
extraordinarias.

Big Bird niega lo aducido por los Demandantes y afirma que se pagó a sus empleados cualquier
remuneración pagadera por horas extraordinarias.

El Tribunal aún no ha determinado quién tiene la razón en esta demanda.
12. ¿Cómo puedo participar (incluirme) en la demanda por horas
    extraordinarias?
Si usted cumple la definición en la parte de arriba de este aviso, puede unirse a esta demanda
como demandante colectivo y ser representado por los Demandantes principales nombrados en
esta demanda. Para unirse a la demanda, debe enviar el formulario anexo de "Consentimiento
para convertirse en parte demandante") a los abogados de los Demandantes, por correo postal,
telefax o correo electrónico y antes de la fecha límite.
Es necesario recibir su formulario (o, si se envía por correo postal, la fecha de matasellos
debe ser) en o antes del [60 días posteriores al aviso].
Si desea unirse a la demanda, envíe el formulario lo antes posible, ya que el máximo período
para el cual podría pedir horas extraordinarias, según la ley FLSA, empieza tres años antes de la
fecha en que se presenta el formulario, y posterior a esa fecha. La presentación más rápida del
formulario significa que el período de tiempo durante el cual usted estaría cubierto en el caso
empezaría más temprano.

13. ¿Qué pasa si me uno a la demanda por horas extraordinarias?
Si presenta el formulario "Consentimiento para convertirse en parte demandante": La decisión de
participar o no en esta demanda es exclusivamente suya. Si elige participar, usted será
representado por los Demandantes y sus abogados, quienes a nombre suyo tomarán decisiones y
llegarán a acuerdos con respecto a la demanda.

Si elige participar, mientras esté pendiente esta demanda es posible que se le pida proveer
información, presentarse para prestar una declaración jurada oral y/o hacer una declaración ante
el tribunal en Dallas, Texas.

Si elige participar, el fallo será de carácter obligatorio para usted, sea favorable o desfavorable;
también será de carácter obligatorio cualquier monto recuperado, si los Demandantes recuperan
dinero del Demandado. Además, si participa, no puede entablar una demanda aparte buscando


     Para más información, llame gratis al 1 (866) 495-1255 or www.bigbirdovertime.com

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remuneración por horas extraordinarias, aún si los Demandantes no logran recuperar ningún
dinero.
Los abogados de los Demandantes no le cobrarán directamente por el trabajo que hacen. Si los
Demandantes recuperan dinero, se pagará a los abogados de los Demandantes el monto por
honorarios que apruebe el Tribunal. Dichos honorarios se podrán descontar del monto
recuperado, de haber, pagado por el Demandado, o ser pagados directamente por el Demandado,
o una combinación de estas opciones. Si los Demandantes no recuperan ningún dinero o
prestación, sus abogados no recibirán ninguna compensación por su trabajo en este caso.

14. ¿Qué pasa si no hago nada?
Si no hace nada (es decir, no presenta el formulario "Consentimiento para convertirse en parte
demandante"): No formará parte de la demanda. No será afectado por ningún fallo en esta
demanda ni le representarán los abogados de los Demandantes. Si se recupera algún dinero, used
no recibirá ninguna parte.

15. ¿Y luego qué pasa?
Usted y los demás integrantes de la acción colectiva tienen hasta [60 DÍAS DESPUÉS DE LA
FECHA DE ENVÍO POSTAL] para incluirse en la demanda. Después de dicha fecha, no se le
permitirá incluirse de esta demanda.
16. Si me uno a esta demanda, ¿pueden los Empleadores tomar
    represalias contra mí?
No. La ley federal prohíbe a los empleadores, incluso empleadores posibles futuros, tomar
represalias algunas contra usted por participar de buena fe en una demanda por paga de horas
extraordinarias. Por ejemplo, no le pueden amenazar, despedir, dar una evaluación injusta,
reducir su paga, negarle un ascenso o negarse a contratarle, por ejercer de buena fe sus derechos
bajo la FLSA.

17. ¿Si me uno a la demanda, quién me representará?
Si usted elige participar en esta demanda, será representado por los Demandantes a través de sus
abogados:




     Para más información, llame gratis al 1 (866) 495-1255 or www.bigbirdovertime.com

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        Allen R. Vaught
        Baron & Budd, P.C.
        3102 Oak Lawn Avenue, Suite 1100
        Dallas, TX 75219
        Teléfono: (866) 495-1255
        Telefax: (214) 520-1181
        Correo electrónico: acorona@baronbudd.com


18. ¿Cómo puedo obtener más información?
Si tiene alguna pregunta, no dude en comunicarse con los abogados indicados en el Párrafo 8
anterior, visitar el sitio web www.bigbirdovertime.com, o llamar al 1 (866) 495-1255.




     Para más información, llame gratis al 1 (866) 495-1255 or www.bigbirdovertime.com

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                       CONSENT TO BECOME PARTY PLAINTIFF

                      Fair Labor Standards Act of 1938, 29 U.S.C. 216(b)

       I hereby consent to be a party plaintiff seeking unpaid wages and liquidated damages

(“damages”) against Big Bird Tree Service, Inc. (“Defendant”), and all entities and/or

individuals that may be jointly liable with Defendant for my claimed damages. By joining this

lawsuit, I designate the Named Plaintiffs and their attorneys (and other persons those individuals

designate as necessary) as my representatives to make all decisions on my behalf, to the extent

permitted by law, concerning the method and manner of conducting the case including

settlement, the entering of an agreement with Plaintiffs’ counsel regarding payment of attorneys’

fees and court costs, and all other matters pertaining to this lawsuit. I further acknowledge that

this consent is intended to be filed to recover my damages against Defendant, and all other

individuals and/or entities who are or may be jointly liable along with Defendant, whether in the

above-captioned action or in any subsequent action that may be filed on my behalf for such

recovery, and this consent may be used in this case or in any subsequent case as necessary. For

purposes of pursuing my damages claims against Defendant, I choose to be represented by the

law firm of Baron & Budd, P.C. and other attorneys with whom they may associate.



Date: ______________________           Signature:




Printed Name:




                                                                                        App. p. 10
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                      Contact Information (not to be filed with the Court)

Please fill out this contact information so that your attorneys know how to contact you as this
case progresses. This information will not be filed with the Court or made available to the
general public. Please contact Andrea Corona at 1-800-222-2766 or e-mail at
acorona@baronbudd.com with any questions:

Name:

Street Address:

City:                               State:                    Zip Code:

Telephone Number(s):      (Home): (______)________ - _________________

                          (Cell):    (______) ________- _________________

E-Mail Address(es):




                                                                                     App. p. 11
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            CONSENTIMIENTO PARA CONVERTIRSE EN PARTE DEMANDANTE


       Por el presente acepto ser parte demandante para reclamar remuneración no
pagada más daños y perjuicios convencionales (“daños”), contra Big Bird Tree
Service, Inc. (“Demandado”) y cualquier entidad o persona que podría ser
solidariamente responsable con el Demandado por mis daños y perjuicios
reclamados. Con mi participación en esta demanda designo a los Demandantes
Nombrados y sus abogados (y otras personas nombrados por ellos según sea
necesario) como representantes míos para que a mi nombre puedan tomar, hasta
donde permita la ley, cualquier decisión referente al método y forma de proceder
con el caso, incluso la resolución; llegar a un acuerdo con la representación
jurídica de los Demandantes con respecto al pago de costes y de honorarios
jurídicos; y cualquier otro asunto relacionado con el caso. Reconozco además que
el propósito de este consentimiento es de recuperar mis daños y perjuicios del
Demandado y de cualquier otra persona y/o entidad que pueda ser solidariamente
responsable con el Demandado, sea en la acción de epígrafe o en alguna acción
posterior que se podría entablar a mi nombre con dicho fin, y puede utilizarse este
consentimiento en este caso o en algún caso posterior según sea necesario. Para el
fin de proceder con la reclamación de daños y perjuicios contra el Demandado,
elijo ser representado por el bufete jurídico de Baron & Budd, P.C. y otros
abogados con los cuales podrían estar asociados.



Fecha: ______________________     Firma:




Nombre, en letra de molde:




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                Datos de Contacto (esta información no se utilizará en el Tribunal)

Favor de llenar estos datos de contacto para que sus abogados sepan cómo comunicarse con
usted mientras continúe el caso. Estos datos no serán usados en el tribunal ni se divulgarán al
público en general. Favor de comunicarse con Andrea Corona al 1-800-222-2766 o por correo
electrónico a acorona@baronbudd.com, con cualquier pregunta:

Nombre:

Domicilio:

City:                               State:                    Zip Code:

Número telefónico:

                        Casa: (______)________ - _________________

                        Cellular:       (______) ________- _________________

Correo electrónico:




                                                                                     App. p. 13
